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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY,

Plaintiff,

Vv.

/Case No. 2:20-cv-12880-JMV-JAD

Civil Action

CHRISTIAN EXOO a/k/a ANTIFASH
GORDON; ST. LAWRENCE
UNIVERSITY; TRIBUNE PUBLISHING
COMPANY; NEW YORK DATLY NEWS;

Motion Date:

VIJAY GADDE; TWITTER, INC.;
COHEN, WEISS AND SIMON LLP,

Defendants.

 

 

MEMORANDUM OF LAW ON BEHALF OF
LLP IN SUPPORT OF ITS MOTION
11 (C)

PURSUANT TO FED.R.CIV.P.

DEFENDANT COHEN, WEISS AND SIMON
FOR SANCTIONS AGAINST PLAINTIFF

 

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PRELIMINARY STATEMENT

Cohen, Weiss and Simon LLP (“CWS”) files this motion pursuant
to Fed.R.Civ.P. il1(c) (“Rule 11”) seeking the imposition of
sanctions against Plaintiff, Daniel D’Ambly (“Plaintiff” or
“D’Ambly”) and awarding CWS reasonable attorneys’ fees and costs
in having to defend against the patently frivolous and legally
unsustainable allegations in Count XIII of the Complaint. In that
count, the sole count asserted against CWS, Plaintiff alleges legal
malpractice arising from CWS’ representation of Local One-L,
Graphic Communications Conference of the International Brotherhood
of Teamsters (the “Teamsters Union”) in a labor arbitration
challenging D’Ambly’s termination by the New York Daily News
(“Daily News”). Plaintiff asserts this claim despite well-
established case law, including binding Third Circuit precedent,
which holds unequivocally and without exception that where a union
engages an attorney to handle a grievance filed on behalf of
constituent member, the attorney represents the union and not the
member, and the member has no claim against the attorney for legal
malpractice.

Shortly after being served with the Complaint, CWS sent a
notice letter advising Plaintiff's counsel of the controlling case
law which is fatal to his legal malpractice claim. CWS warned
that in the absence of Plaintiff withdrawing the Complaint against

it, it would be compelled to seek dismissal from the Court, in

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which event CWS would also seek sanctions under Rule 11. Plaintiff
refused to withdraw the Complaint. Accordingly, CWS was compelled
to file its motion to dismiss, which is based on the controlling
case law disclosed to Plaintiff in its notice letter. CWS has
been forced to incur significant attorney’s fees, in addition to
substantial expenditure of time, in defending against Plaintiff's
patently frivolous and legally unsustainable claim.

Rule 11 was designed, among other things, to prevent attorneys
from filing complaints which are not warranted by existing law so
that litigants are not burdened with significant attorney’s fees
in defending against a complaint which is unsustainable as a matter
of law. This is the precise type of case for which Rule 11 was
designed. As Plaintiff is represented by counsel who signed the
offending pleading, sanctions are sought against Plaintiff's
counsel pursuant to Fed.R.Civ.P. 11(c) (5) (A).

PROCEDURAL HISTORY AND FACTS

 

The procedural history and facts of the case are set forth in
CWS’ brief in support of its motion to dismiss, a copy of which is
attached as Exhibit “A” to the Certification of Michael J. Canning,
Esq. (the “Cert. Canning”). Plaintiff filed a Complaint, signed
by his attorney, Patrick Trainor, Esq., on September 21, 2020.
(Cert. Canning at Exhibit “B”.) As it relates to CWS, Plaintiff
alleges that he was a member of the Teamsters Union who worked at

the Daily News until his employment was terminated on January 18,

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2019. (Cert. Canning at Exhibit “B”, | 2) The Teamsters Union
filed a grievance against the Daily News, pursuant to the terms of
a collective bargaining agreement, challenging D’Ambly’s
termination. The Teamsters Union engaged CWS to handle the
grievance and arbitration. (Cert. Canning at Exhibit “B”, 4 10,
44, 48.) The Daily News paid D’Ambly a lump sum settlement and in
exchange the Teamsters Union withdrew the grievance and
arbitration. (Cert. Canning at Exhibit “B”, { 53.)

The sole cause of action in the Complaint asserted against
CWS is Count XIII. In this count, Plaintiff alleges that CWS was
negligent in its handling of the grievance and arbitration. (Cert.
Canning at Exhibit “B”, | 154-161.) The allegations arise out of
and relate solely to the representation CWS provided in the
grievance and arbitration process conducted on behalf of the
Teamsters Union pursuant to the collective bargaining agreement
between the Teamsters Union and the Daily News. Notably, there is
no allegation in Count XIII of the Complaint that an attorney-
client relationship existed between CWS and Plaintiff. Nor is
there any allegation that CWS owed Plaintiff any legal duty. This
is because, as explained in detail in CWS’ brief in support of its
motion to dismiss the Complaint (Cert. Canning at Exhibit “A”), no
such legal duty existed as a matter of law.

New Jersey law requires, as an element of a claim for legal

malpractice, the existence of a legal duty owed by the defendant

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attorney to the plaintiff, which legal duty is created by the

establishment of an attorney client-relationship. Jerista v.
Murray, 185 N.J. 175, 190-91 (2005). The Third Circuit ruled

unequivocally in Carino v. Stefan, 376 F.3d 156 (3d Cir. 2004),
that an attorney hired by a union to perform services related to
a collective bargaining agreement is immune from a _ legal
malpractice action by the union’s constituent member.
Accordingly, Plaintiff's legal malpractice claim predicated on
CWS’ representation of the Teamsters Union in the contractual
grievance and arbitration fails to allege an attorney-client
relationship with CWS or the existence of any legal duty owed by
CWS to Plaintiff.

On September 30, 2020, CWS, through its counsel, served a
letter to Plaintiff’s counsel demanding that the Complaint be
dismissed with prejudice as to CWS. (Cert. Canning at Exhibit
“c") (the “Notice Letter”).1 In the Notice Letter, CWS informed
Plaintiff’s counsel of controlling cases from different courts of
appeals, including the Third Circuit in Carino, which have all
“with monotonous regularity” foreclosed state law claims against
individuals acting as union representatives within the ambit of

the collective bargaining process. Carino, 376 F.3d at 156. More

 

'The comments to the 1993 amendments to Fed.R.Civ.P. 11 provide that counsel
should give informal notice of a potential violation before preparing and
serving a Rule 11 motion, which CWS has done in its Notice Letter.

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specifically, with regard to the immunity provided to attorneys
who represent a union, in the Notice Letter CWS directed
Plaintiff’s counsel to the holding in Carino:
This appeal presents a question of first
impression for our court, namely, whether an
attorney hired by a union to perform services
on behalf of a union member in connection with
an arbitration hearing conducted pursuant to a
collective bargaining agreement is immune from
suit for malpractice by that member. We
conclude that the LMRA? bars such a suit.
[Carino, 376 F.3d 156, 159.] (Cert. Canning at Exhibit “c”.)

In the Notice Letter, CWS further informed Plaintiff's
counsel of other courts of appeals which have reached the same
holding as the Third Circuit in Carino and of the recognition by
the Third Circuit that:

The only courts of appeals to have considered
the specific question here, where attorneys
acted on behalf of the union, have uniformly
concluded that Atkinson? prohibits claims made
by a union member against attorneys employed

by or retained by the union to represent the
member in a labor dispute.

[Id.]
Although given the opportunity to dismiss the Complaint
without incurring any sanctions, Plaintiff elected not to do so.

Instead, on October 1, 2020, his counsel sent a letter to counsel

 

2 The Labor Management Relations Act, 29 U.S.C. § 185.
3 Atkinson v. Sinclair Refinancing Co., 370 U.S. 238, 82 S.Ct.
1318, 8 L.Ed. 2d 462 (1962).

 

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for CWS advising he would not withdraw the Complaint. (Cert.
Canning at Exhibit “D”.) In the letter, Plaintiff’s counsel did
not attempt to dispute or distinguish the controlling legal
precedent set forth in the Notice Letter. To the contrary,
Plaintiff's counsel stated that he had researched the cases and
statutes referenced in the Notice Letter and admitted that “In
general, I agree with your argument that an attorney-client
relationship is not formed between a union attorney, such as CWS,
and a union member grievant, such as Plaintiff, and, therefore,
the union attorney is immune from suit in cases such as these.”
He further acknowledged that CWS represented the union in the
arbitration, not Plaintiff. (Cert. Canning at Exhibit “D”.)

Yet, Plaintiff refused to dismiss the Complaint, claiming
that the American Bar Association and New Jersey Rules of
Professional Conduct required CWS to identify the union as the
client of CWS. (Cert. Canning at Exhibit “D”.) Plaintiff's
counsel further argued that because the Teamsters Union and CWS
attorneys who worked on the arbitration opposed white supremacy,
CWS was somehow required to recuse itself from its representation
of the union (whom Plaintiff admits is the only client CWS was
representing). Not surprisingly, Plaintiff’s counsel offered no
case law to support the untenable position that the Teamster Union
could engage only an attorney who shared Plaintiff’s white

supremacy views.
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As CWS is immune from a claim for legal malpractice by
Plaintiff in accordance with the well-established case law cited
in the Notice Letter and in its brief in support of its motion to
dismiss the Complaint, and as Plaintiff has admitted that CWS is
immune from the very legal malpractice action he has pleaded, the
Complaint was filed in violation of Fed.R.Civ. P. 11 (b). CWS is
entitled to recover the reasonable attorney’s fees it has incurred

as a sanction under Fed.R.Civ. P. 11(c).

LEGAL ARGUMENT

POINT I

SANCTIONS SHOULD BE IMPOSED AGAINST PLAINTIFF

 

Fed.R.Civ.P. 11 regulates the circumstances in which
sanctions, including an award of reasonable attorneys’ fees, may
be imposed if a party or attorney fails to meet the standards for
filing documents in court. The rule states that when an attorney
presents the court with a pleading or other paper by signing,
filing, submitting, or later advocating it, the attorney certifies

that to the best of the attorney’s knowledge, information, and

belief, formed after an inquiry reasonable under the
circumstances:
(1) [the pleading or document] is not being

presented for any improper purpose, such as to
harass, cause unnecessary delay, or needlessly
increase the cost of litigation; [and]
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(2) the claims, defenses, and other legal
contentions are warranted by existing law or
by a nonfrivolous argument for extending,
modifying, or reversing existing law or for
establishing new law[.]

Fed.R.Civ.P. 11(b).

Plaintiff has violated the Rule by filing the Complaint with
a count for legal malpractice against CWS which he knows is not
warranted by existing law or by a non-frivolous argument for
extending, modifying or reversing existing law or for establishing
new law.

The Third Circuit has explained that Rule 11 is “intended to
discourage pleadings that are ‘frivolous, legally unreasonable or
without factual foundation’, even though the paper was not filed

in subjective bad faith.” Lieb v. Topstone Indus., Inc., 788 F.2d

 

151, 157 (3d Cir. 1986) (citing Eastway Const. Corp. v. City of

 

New York, 762 F.2d 243, 253 (2d Cir. 1985).
When determining whether an attorney has violated Rule 11, a
district court must apply an objective standard of reasonableness

under the circumstances. Ario v. Underwriting Members of Syndicate

 

53 At Lloyds, 618 F.3d 277, 297 (3d Cir. 2010); CTC Imports and

Exports v. Nigerian Petroleum Co., 951 F.2d 573, 578 (3d Cir.

 

1992); Mary Ann Pensiero, Inc. v. Lingle, 847 F.2d 90, 94 (3d Cir.

 

1988). “Simply put, subjective good faith no longer provides the
safe harbor it once did.” Lieb, 788 F.3d at 157, citing Eavenson,

Auchnuty & Greenwald v. Holtzman, 775 F.2d 535, 540 (3d Cir. 1985).

 

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Thus, district courts are expected to “avoid the wisdom of
hindsight and should test the signer’s conduct by [asking] what
was reasonable to believe at the time the pleading, motion, or
other paper was submitted.” Id.

At the time the Complaint was filed in this action, Carino
had been decided sixteen years prior and the law was crystal clear
- CWS, as counsel for the Teamsters Union, was not Plaintiff’s
lawyer, owed him no legal duty, and was immune from a claim for
legal malpractice by the union’s member.

Carino’s holding is consistent with that of other Courts of
Appeals which have likewise recognized that union attorneys are
immune from legal malpractice claims by union members. See

Waterman v. Transport Workers Union Local 100, 176 F.3d 150 (2d

 

Cir. 1999); (“[U]nder Atkinson, a union’s attorneys may not be
sued by an individual union member for actions taken pursuant to

a collective bargaining agreement.”); Arnold v. Air Midwest Inc.,

 

100 F.3d 857, 862 (10% Cir. 1996) (“[A]n attorney who performs
services for and on behalf of a union may not be held liable in
malpractice to individual grievants where the services performed
constitute a part of the collective bargaining process.”); Breda
v. Scott, 1 F.3d 908, 909 (9t8 Cir. 1993) (holding that employees
cannot sue in-house or outside counsel for services rendered under
a collective bargaining agreement); Montplasier, 875 F.2d at 7

(“[F]lor purposes of the Atkinson principle, [attorneys] must be

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treated the same as other union agents.”); Peterson v. Kennedy,

 

771 F.2d 1244, 1258 (9% Cir. 1985) (“(W]here, as here, the attorney
performs a function in the collective bargaining process that would
otherwise be assumed by the union’s business agents or
representatives, the rationale behind the Atkinson rule is
squarely applicable.”)

It is a patent violation of Rule 11 to file a complaint where
the controlling case law is clearly contrary to the cause of action

pleaded in the complaint. Matthews v. Freedman, 128 F.R.D. 194,

 

201 (E.D. Pa. 1989) (finding a rule 11 violation where the
plaintiff’s attorney filed a complaint with a claim which was
contradicted by “an unbroken line of cases to the contrary.”) In

Truesdell v. S. Cal. Permanente Med. Group, 209 F.D.R. 196 (U.S.

 

Dist. Cal. 2002), plaintiff, a union member, sought to sue her
union after she was dissatisfied with the outcome of the
arbitration conducted as part of the grievance filed by her union.
The court dismissed the complaint and awarded Rule 11 sanctions
because of a long line of cases which granted deference to a union
in the exercise of its judgment in the prosecution / arbitration
of a member grievance. Id. at 176-177. As the agent of the
Teamsters Union in the prosecution of Plaintiff’s grievance, CWS
is entitled to the same deference in the exercise of its judgment
in the grievance process which immunizes it from liability to

Plaintiff for the claim asserted in his Complaint.

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The courts in Truesdell, as well in Carino and the other cases
cited above, have made clear for decades that a union and its
attorney are immune from liability for negligence arising out of
its prosecution of a grievance. No reasonably objective lawyer
could have believed there was a good faith basis for bringing a
legal malpractice claim against CWS, particularly when the
overwhelming precedent to the contrary was brought to the attention
of Plaintiff’s counsel in the Notice Letter. As stated in Smith
v. Blue Cross & Blue Shield United, 959 F.2d 655, 659 (7t® Cir.
1992):

This action encompasses a classic violation of
Rule 11. No reasonable attorney having read
Pilot Life and Taylor could manufacture a good
faith argument as to why this suit should be
brought. Further, any attorney making a
reasonable inquiry would have come across
Pilot Life and Taylor. This case is contrary
to settled precedent, and falls directly into
the Eastway Construction [Corp. v. City of New
York, 762 F.2d 243, 254 (2d Cir. 1985),]
definition of having no chance of success
under existing precedent. That defense
counsel alerted plaintiff’s counsel to the
frivolity of the claim and pointed plaintiff's
counsel to the directly contrary precedent
only exacerbates the unreasonableness of
plaintiff's counsel’s actions.

[Smith, 959 F.2d at 659.]
As in Smith, the failure of Plaintiff's counsel here to
dismiss the Complaint after receipt of the Notice Letter

exacerbates the unreasonableness of his actions.

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Because the law was so well-established that CWS was immune
from the legal malpractice claim, the Complaint as against CWS was
not warranted by existing law. Nor does Plaintiff anywhere in the
Complaint set forth an argument for extending, modifying or
reversing existing law, or for establishing new law. Faced with
the overwhelming contrary precedent, no objectively reasonable
attorney could believe a meritorious legal malpractice claim could
be pleaded against CWS. The Complaint was therefore filed in
violation of Fed.R.Civ. P. 11(b), and sanctions should be imposed.

POINT IT

PLAINTIFF CANNOT AVOID SANCTIONS BY CLAIMING
THAT CWS SOMEHOW VIOLATED AN ETHICAL RULE

 

Plaintiff will no doubt oppose CWS’ Rule 11 motion by arguing,
as Plaintiff’s counsel did in his October 1, 2020 letter, that
under ABA Rule of Professional Conduct 1.13 (f) and New Jersey
Rule of Professional Conduct 1.13 (2) (d), CWS was obligated to
(a) notify him that the union was its client and (b) recuse itself
because the Teamsters Union and CWS attorneys handling the
arbitration opposed white supremacy. Any such argument fails for
three, independent reasons.

First, the Complaint is devoid of any allegation that CWS
owed and breached an ethical obligation to identify the Teamsters

Union as its client and recuse itself from the grievance process.

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Plaintiff cannot defend his Complaint by citing to non-existent
allegations about the Rules of Professional Conduct.

Second, even if Plaintiff had alleged a violation of a Rule
of Professional Conduct, the New Jersey Supreme Court has held
that a violation does not, in and of itself, provide the basis for

Civil liability against an attorney. Baxt v. Liloia, 155 N.J. 190

 

(1998). In reaching this conclusion, the New Jersey Supreme Court
noted that the American Bar Association Model Rules, on which the
New Jersey RPCs are based, explicitly provide that “Violation of
a Rule should not give rise to a cause of action nor should it
create any presumption that a legal duty has been breached.” Id.
at 197-98 (quoting Model Rules of Professional Conduct, Scope
(1992)). As the court explained, the New Jersey disciplinary
system is designed to protect the public and “the integrity of the
profession,” ibid, and not to form the pretext for malpractice
claims.

As the leading commentators have explained, there are many

reasons “why ethical standards alone should not give rise to a

cause of action, a duty or suggest that a violation should be

negligence per se.” Ronald E. Mallen & Jeffrey M. Smith, Legal
Malpractice, § 20:11, p. 1360 (2016 ed.). First, “In most

jurisdictions, the ethical rules are not promulgated by the
legislature, but by the state’s highest court” in an effort to

“maintain the integrity of the profession.” Id. at 1361. Second,

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civil malpractice actions have “significant procedural and
substantive differences” from a disciplinary proceeding.” For
instance, in a disciplinary hearing, an attorney can be disciplined
for an ethical violation, “even if the misconduct does not cause
any damage” and “even if the conduct is not a civil wrong.” Id.
Similarly, an attorney could violate a disciplinary standard, even
if her conduct did not rise to the level of negligence. Id.

These leading commentators have concluded, “These differences
often mean that a rule promulgated for discipline is not
appropriate as a principle of civil law or standard for defining
proper civil conduct.” Id. at 1362. Thus, Plaintiff’s unpleaded
allegation of an ethical violation cannot give rise to a civil
cause of action against CWS.

Third, Plaintiff cannot even establish an ethical violation.
Plaintiff cannot pursue a claim that CWS was ethically required to
recuse itself; Plaintiff has already conceded that CWS represented
the Teamsters Union, not him, in the grievance process. CWS had

no conflict with its client, the Teamsters Union.

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CONCLUSION
Defendant Cohen, Weiss and Simon LLP respectfully requests

that the Court grant its motion against Plaintiff, Daniel D’Ambly,

pursuant to Fed.R.Civ.P. 11(c), imposing sanctions against
Plaintiff and awarding CWS reasonable attorneys’ fees and
expenses.

GIORDANO, HALLERAN & CIESLA, P.C.
Attorneys for Defendant Cohen,
Weiss and Simon LLP

Yeleab - Covers

MICHAEL J. CANNING, ESQ.

By:

 

Dated: November 17, 2020

Docs #4739724-v1

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